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Exhibit "A"

258196 Nguyen Vo (258196) Abbeville
258200 Thanh Vo (258200) Abbeville
259685 Katie Pham (259685) Shreveport
260492 Phan Cao (260492) Gretna
260632 Bay Tran (260632) Harvey
261507 Su Pham (261507) New Orleans

264739 Ut Vo (264739) Baton Rouge
264782 Vicki Ly (264782) . Thibodaux
266902 Huy Le (266902) Abbeville -

267230 Hoai Nguyen (267230) Youngsville

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